                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN

  DONNA SCHUTTE,

                  Plaintiff,
                                                         Case No: 2:21-cv-00204
          v.

  CIOX HEALTH, LLC, et al.,

                  Defendants.


      PLAINTIFF’S MOTION FOR CERTIFICATION AND ENTRY OF FINAL
                JUDGMENT PURSUANT TO FED. R. CIV. P. 54(B)
______________________________________________________________________________

                                        INTRODUCTION

       Plaintiff Donna Schutte, by and through her attorneys Cannon & Dunphy, S.C., submits the

following motion for certification and entry of final judgment pursuant to Fed. R. Civ. P. 54(b):

       Plaintiff moves this Court, pursuant to Fed. R. Civ. P. 54(b), for certification and entry of a

final judgment as to the dismissal of defendant Ciox Health, LLC, expressly stating that there is no

just reason for delay. This motion is supported by Plaintiff’s Memorandum of Law and supporting

documentation filed herewith.

       Dated at Brookfield, Wisconsin this 28th day of December, 2021.

                                       CANNON & DUNPHY, S.C.
                                       Attorneys for Plaintiff

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